        Case 1:17-cr-00201-ABJ Document 264-3 Filed 04/09/18 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                  )
                                           )
v.                                         )
                                           )      Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,                     )
                                           )      Judge Amy Berman Jackson
              Defendant.                   )



                                    [Proposed] ORDER
       Upon consideration of Defendant Paul J. Manafort, Jr.’s motion pursuant to Rule

12(b)(3)(C) and Rule 41(h) of the Federal Rules of Criminal Procedure to suppress evidence and

all fruits thereof relating to the government’s search of his residence located in Alexandria,

Virginia (the “Premises”), and any opposition and reply thereto, it is hereby ORDERED that the

motion is GRANTED and it is hereby FURTHER ORDERED that all evidence seized from the

Premises is hereby SUPPRESSED.

       SO ORDERED.


Dated: ____________________                              __________________________
                                                         AMY BERMAN JACKSON
                                                         United States District Judge
